                      Case 8:24-bk-00676-RCT                  Doc 426        Filed 11/21/24          Page 1 of 12



                                       UNITED STATES BANKRUPTCY COURT
                                                MIDDLE DISTRICT OF FLORIDA
                                                           TAMPA DIVISION


In Re. THE CENTER FOR SPECIAL NEEDS TRUST §                                            Case No. 24-00676
       ADMINISTRATION, INC.               §
                                          §
               Debtor(s)                  §
                                                                                           Jointly Administered

Monthly Operating Report                                                                                                  Chapter 11

Reporting Period Ended: 10/31/2024                                                       Petition Date: 02/09/2024

Months Pending: 9                                                                        Industry Classification:    8    1   3   3

Reporting Method:                              Accrual Basis                      Cash Basis

Debtor's Full-Time Employees (current):                                          18

Debtor's Full-Time Employees (as of date of order for relief):                   23



Supporting Documentation (check all that are attached):
(For jointly administered debtors, any required schedules must be provided on a non-consolidated basis for each debtor)

        Statement of cash receipts and disbursements
        Balance sheet containing the summary and detail of the assets, liabilities and equity (net worth) or deficit
        Statement of operations (profit or loss statement)
        Accounts receivable aging
        Postpetition liabilities aging
        Statement of capital assets
        Schedule of payments to professionals
        Schedule of payments to insiders
        All bank statements and bank reconciliations for the reporting period
        Description of the assets sold or transferred and the terms of the sale or transfer




/s/ Steven R. Wirth, Counsel to Chapter 11 Trustee                           Steven R. Wirth, Counsel to Chapter 11 Trustee
Signature of Responsible Party                                               Printed Name of Responsible Party
11/20/2024
                                                                             Akerman, LLP 401 East Jackson Street #170
Date
                                                                             Tampa, FL 33602
                                                                             Address



STATEMENT: This Periodic Report is associated with an open bankruptcy case; therefore, Paperwork Reduction Act exemption 5 C.F.R.
§ 1320.4(a)(2) applies.

UST Form 11-MOR (12/01/2021)                                        1
                          Case 8:24-bk-00676-RCT                Doc 426           Filed 11/21/24    Page 2 of 12
Debtor's Name THE CENTER FOR SPECIAL NEEDS TRUST                                                        Case No. 24-00676
              ADMINISTRATION, INC.
Part 1: Cash Receipts and Disbursements                                                  Current Month           Cumulative

a.   Cash balance beginning of month                                                               $1,493,899
b.   Total receipts (net of transfers between accounts)                                                 $5,311                $463,574
c.   Total disbursements (net of transfers between accounts)                                        $890,169                $3,646,729
d.   Cash balance end of month (a+b-c)                                                              $609,041
e.   Disbursements made by third party for the benefit of the estate                                       $0                       $0
f.   Total disbursements for quarterly fee calculation (c+e)                                        $890,169                $3,646,729
Part 2: Asset and Liability Status                                                       Current Month
(Not generally applicable to Individual Debtors. See Instructions.)
a. Accounts receivable (total net of allowance)                                                            $0
b.   Accounts receivable over 90 days outstanding (net of allowance)                                       $0
c.   Inventory       ( Book        Market      Other      (attach explanation))                            $0
d    Total current assets                                                                          $2,746,854
e.   Total assets                                                                              $110,134,484
f.   Postpetition payables (excluding taxes)                                                         $79,774
g.   Postpetition payables past due (excluding taxes)                                                      $0
h.   Postpetition taxes payable                                                                            $0
i.   Postpetition taxes past due                                                                           $0
j.   Total postpetition debt (f+h)                                                                   $79,774
k.   Prepetition secured debt                                                                              $0
l.   Prepetition priority debt                                                                             $0
m. Prepetition unsecured debt                                                                  $106,386,109
n.   Total liabilities (debt) (j+k+l+m)                                                        $106,465,883
o.   Ending equity/net worth (e-n)                                                                 $3,668,602

Part 3: Assets Sold or Transferred                                                       Current Month           Cumulative


a.   Total cash sales price for assets sold/transferred outside the ordinary
     course of business                                                                                 $1,250                  $1,550
b.   Total payments to third parties incident to assets being sold/transferred
     outside the ordinary course of business                                                               $0                       $0
c.   Net cash proceeds from assets sold/transferred outside the ordinary
     course of business (a-b)                                                                           $1,250                  $1,550

Part 4: Income Statement (Statement of Operations)                                      Current Month            Cumulative
(Not generally applicable to Individual Debtors. See Instructions.)
a. Gross income/sales (net of returns and allowances)                                                   $4,061
b.   Cost of goods sold (inclusive of depreciation, if applicable)                                         $0
c.   Gross profit (a-b)                                                                                 $4,061
d.   Selling expenses                                                                                      $0
e.   General and administrative expenses                                                            $156,635
f.   Other expenses                                                                                       $0
g.   Depreciation and/or amortization (not included in 4b)                                                 $0
h.   Interest                                                                                              $0
i.   Taxes (local, state, and federal)                                                                     $0
j.   Reorganization items                                                                           $707,150
k.   Profit (loss)                                                                                 $-858,474                $-2,845,135


UST Form 11-MOR (12/01/2021)                                           2
                       Case 8:24-bk-00676-RCT                      Doc 426         Filed 11/21/24      Page 3 of 12
Debtor's Name THE CENTER FOR SPECIAL NEEDS TRUST                                                             Case No. 24-00676
              ADMINISTRATION, INC.
Part 5: Professional Fees and Expenses

                                                                                  Approved       Approved       Paid Current       Paid
                                                                                Current Month   Cumulative         Month         Cumulative
a.     Debtor's professional fees & expenses (bankruptcy) Aggregate Total            $707,150     $1,395,425         $707,150     $1,395,425
       Itemized Breakdown by Firm
                Firm Name                         Role
       i        Nperspective Advisory ServicesFinancial Professional                  $32,343      $324,097           $32,343       $324,097
       ii       Epiq corporate restructuring      Other                                    $0      $296,521                $0       $296,521
       iii      Hill Ward and Henderson                                                    $0      $100,000                $0       $100,000
       iv       Akerman Law                       Special Counsel                    $359,184      $359,184          $359,184       $359,184
       v        Michael Goldberg                  Lead Counsel                        $22,150       $22,150           $22,150        $22,150
       vi       Kapilamukamal LLP                 Financial Professional             $293,472      $293,472          $293,472       $293,472
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UST Form 11-MOR (12/01/2021)                                                3
                  Case 8:24-bk-00676-RCT      Doc 426   Filed 11/21/24   Page 4 of 12
Debtor's Name THE CENTER FOR SPECIAL NEEDS TRUST                          Case No. 24-00676
              ADMINISTRATION, INC.
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UST Form 11-MOR (12/01/2021)                       4
                      Case 8:24-bk-00676-RCT                     Doc 426         Filed 11/21/24      Page 5 of 12
Debtor's Name THE CENTER FOR SPECIAL NEEDS TRUST                                                           Case No. 24-00676
              ADMINISTRATION, INC.
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                                                                                Approved       Approved       Paid Current       Paid
                                                                              Current Month   Cumulative         Month         Cumulative
b.    Debtor's professional fees & expenses (nonbankruptcy) Aggregate Total         $10,500      $153,793          $10,500        $153,793
      Itemized Breakdown by Firm
               Firm Name                        Role
      i        Fiduciary Tax & Accounting se Financial Professional                      $0      $117,200                $0       $117,200
      ii       Mark A Linksky P.A,              Local Counsel                            $0          $400                $0           $400
      iii      Thomas A Bales Jr LLC            Other                               $10,500       $31,500          $10,500         $31,500
      iv       Cherry Bekaert LLP               Financial Professional                   $0        $4,623                $0         $4,623
      v        TASC - Cobra Administration Other                                                      $70                              $70
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UST Form 11-MOR (12/01/2021)                                            5
                  Case 8:24-bk-00676-RCT      Doc 426   Filed 11/21/24   Page 6 of 12
Debtor's Name THE CENTER FOR SPECIAL NEEDS TRUST                          Case No. 24-00676
              ADMINISTRATION, INC.
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UST Form 11-MOR (12/01/2021)                       6
                  Case 8:24-bk-00676-RCT      Doc 426   Filed 11/21/24   Page 7 of 12
Debtor's Name THE CENTER FOR SPECIAL NEEDS TRUST                          Case No. 24-00676
              ADMINISTRATION, INC.
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UST Form 11-MOR (12/01/2021)                       7
                        Case 8:24-bk-00676-RCT                      Doc 426   Filed 11/21/24        Page 8 of 12
Debtor's Name THE CENTER FOR SPECIAL NEEDS TRUST                                                     Case No. 24-00676
              ADMINISTRATION, INC.
         xcix
         c
c.       All professional fees and expenses (debtor & committees)              $717,650      $1,549,218        $717,650      $1,549,218




Part 6: Postpetition Taxes                                                                Current Month             Cumulative

a.   Postpetition income taxes accrued (local, state, and federal)                                        $0                          $0
b.   Postpetition income taxes paid (local, state, and federal)                                           $0                          $0
c.   Postpetition employer payroll taxes accrued                                                          $0                          $0
d.   Postpetition employer payroll taxes paid                                                             $0                          $0
e.   Postpetition property taxes paid                                                                     $0                     $2,637
f.   Postpetition other taxes accrued (local, state, and federal)                                         $0                          $0
g.   Postpetition other taxes paid (local, state, and federal)                                            $0                     $6,463

Part 7: Questionnaire - During this reporting period:

a.   Were any payments made on prepetition debt? (if yes, see Instructions)         Yes        No
b.   Were any payments made outside the ordinary course of business                 Yes        No
     without court approval? (if yes, see Instructions)
c.   Were any payments made to or on behalf of insiders?                            Yes        No
d.   Are you current on postpetition tax return filings?                            Yes        No
e.   Are you current on postpetition estimated tax payments?                        Yes        No
f.   Were all trust fund taxes remitted on a current basis?                         Yes        No
g.   Was there any postpetition borrowing, other than trade credit?                 Yes        No
     (if yes, see Instructions)
h.   Were all payments made to or on behalf of professionals approved by            Yes        No     N/A
     the court?
i.   Do you have:            Worker's compensation insurance?                       Yes        No
                                 If yes, are your premiums current?                 Yes        No     N/A      (if no, see Instructions)
                             Casualty/property insurance?                           Yes        No
                                 If yes, are your premiums current?                 Yes        No     N/A      (if no, see Instructions)
                             General liability insurance?                           Yes        No
                                 If yes, are your premiums current?                 Yes        No     N/A      (if no, see Instructions)
j.   Has a plan of reorganization been filed with the court?                        Yes        No
k.   Has a disclosure statement been filed with the court?                          Yes        No
l.   Are you current with quarterly U.S. Trustee fees as                            Yes        No
     set forth under 28 U.S.C. § 1930?




UST Form 11-MOR (12/01/2021)                                           8
                          Case 8:24-bk-00676-RCT                    Doc 426     Filed 11/21/24             Page 9 of 12
Debtor's Name THE CENTER FOR SPECIAL NEEDS TRUST                                                              Case No. 24-00676
              ADMINISTRATION, INC.
Part 8: Individual Chapter 11 Debtors (Only)

a.      Gross income (receipts) from salary and wages                                                               $0
b.      Gross income (receipts) from self-employment                                                                $0
c.      Gross income from all other sources                                                                         $0
d.      Total income in the reporting period (a+b+c)                                                                $0
e.      Payroll deductions                                                                                          $0
f.      Self-employment related expenses                                                                            $0
g.      Living expenses                                                                                             $0
h.      All other expenses                                                                                          $0
i.      Total expenses in the reporting period (e+f+g+h)                                                            $0
j.      Difference between total income and total expenses (d-i)                                                    $0
k.      List the total amount of all postpetition debts that are past due                                           $0
l. Are you required to pay any Domestic Support Obligations as defined by 11            Yes       No
   U.S.C § 101(14A)?
m. If yes, have you made all Domestic Support Obligation payments?                      Yes       No        N/A

                                                     Privacy Act Statement
28 U.S.C. § 589b authorizes the collection of this information, and provision of this information is mandatory under 11 U.S.C.
§§ 704, 1106, and 1107. The United States Trustee will use this information to calculate statutory fee assessments under 28
U.S.C. § 1930(a)(6). The United States Trustee will also use this information to evaluate a chapter 11 debtor's progress
through the bankruptcy system, including the likelihood of a plan of reorganization being confirmed and whether the case is
being prosecuted in good faith. This information may be disclosed to a bankruptcy trustee or examiner when the information
is needed to perform the trustee's or examiner's duties or to the appropriate federal, state, local, regulatory, tribal, or foreign
law enforcement agency when the information indicates a violation or potential violation of law. Other disclosures may be
made for routine purposes. For a discussion of the types of routine disclosures that may be made, you may consult the
Executive Office for United States Trustee's systems of records notice, UST-001, "Bankruptcy Case Files and Associated
Records." See 71 Fed. Reg. 59,818 et seq. (Oct. 11, 2006). A copy of the notice may be obtained at the following link: http://
www.justice.gov/ust/eo/rules_regulations/index.htm. Failure to provide this information could result in the dismissal or
conversion of your bankruptcy case or other action by the United States Trustee. 11 U.S.C. § 1112(b)(4)(F).


I declare under penalty of perjury that the foregoing Monthly Operating Report and its supporting
documentation are true and correct and that I have been authorized to sign this report on behalf of the
estate.



/s/ Michael Goldberg                                                            Michael Goldberg, Chapter 11 Trustee
Signature of Responsible Party                                                  Printed Name of Responsible Party

Chapter 11 Trustee                                                              11/20/2024
Title                                                                           Date




UST Form 11-MOR (12/01/2021)                                                9
                 Case 8:24-bk-00676-RCT       Doc 426               Filed 11/21/24   Page 10 of 12
Debtor's Name THE CENTER FOR SPECIAL NEEDS TRUST                                       Case No. 24-00676
              ADMINISTRATION, INC.




                                                   PageOnePartOne




                                                   PageOnePartTwo




                                                   PageTwoPartOne




                                                   PageTwoPartTwo




UST Form 11-MOR (12/01/2021)                           10
                 Case 8:24-bk-00676-RCT       Doc 426                 Filed 11/21/24   Page 11 of 12
Debtor's Name THE CENTER FOR SPECIAL NEEDS TRUST                                         Case No. 24-00676
              ADMINISTRATION, INC.




                                                    Bankruptcy1to50




                                                   Bankruptcy51to100




                                                   NonBankruptcy1to50




                                               NonBankruptcy51to100




UST Form 11-MOR (12/01/2021)                             11
                 Case 8:24-bk-00676-RCT       Doc 426          Filed 11/21/24   Page 12 of 12
Debtor's Name THE CENTER FOR SPECIAL NEEDS TRUST                                  Case No. 24-00676
              ADMINISTRATION, INC.




                                                   PageThree




                                                    PageFour




UST Form 11-MOR (12/01/2021)                         12
